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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 IN RE APPLICATION OF USA PURSUANT                     ML No. 20-1137
 TO 18 U.S.C. 3512 FOR 2703(d) ORDER FOR
 ONE E-MAIL ACCOUNT SERVICED BY
 GOOGLE LLC


Reference:     DOJ Ref. # CRM-182-70824; Subject Account: zamanakarsi07@gmail.com

                      APPLICATION OF THE UNITED STATES
                   FOR AN ORDER PURSUANT TO 18 U.S.C. § 2703(d)

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. §§ 2703(d) and

3512(a), and the Treaty on Extradition and Mutual Assistance in Criminal Matters between the

United States of America and the Republic of Turkey, Turk.-U.S., June 7, 1979, 32 U.S.T. 3111

(hereinafter, the “Treaty”), to execute a request from the Republic of Turkey (“Turkey”). The

proposed Order would require Google LLC (“PROVIDER”), an electronic communication

service and/or remote computing service provider located in Mountain View, California, to

disclose certain records and other information pertaining to the PROVIDER account associated

with zamanakarsi07@gmail.com, as set forth in Part I of Attachment A to the proposed Order,

within ten days of receipt of the Order. The records and other information to be disclosed are

described in Part II of Attachment A to the proposed Order. In support of this application, the

United States asserts:

                         LEGAL BACKGROUND AND JURISDICTION

     1.        PROVIDER is a provider of an electronic communication service, as defined in

18 U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).
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Accordingly, the United States may use a court order issued under § 2703(d) to require

PROVIDER to disclose the items described in Part II of Attachment A. See 18 U.S.C.

§ 2703(c)(2) (Part II.A of Attachment A); 18 U.S.C. § 2703(c)(1) (Part II.B of Attachment A).

      2.        Pursuant to the applicable treaty, this Court has jurisdiction to issue the proposed

Order. See Treaty art. 25(4) (authorizing courts to issue orders necessary to execute the request).

In addition, this Court has jurisdiction to issue the proposed Order because it is “a court of

competent jurisdiction,” as defined in 18 U.S.C. § 2711. 18 U.S.C. § 2703(d). Specifically, the

Court “is acting on a request for foreign assistance pursuant to [18 U.S.C.] section 3512.”

18 U.S.C. § 2711(3)(A)(iii); see also 18 U.S.C. § 3512(a)(2)(B) (court may issue “a warrant or

order for contents of stored wire or electronic communications or for records related thereto, as

provided under section 2703”); 18 U.S.C. § 3512(c)(3) (“application for execution of a request

from a foreign authority under this section may be filed . . . in the District of Columbia”).

      3.        Section 3512 provides:

                Upon application, duly authorized by an appropriate official of the
                Department of Justice, of an attorney for the Government, a Federal
                judge may issue such orders as may be necessary to execute a
                request from a foreign authority for assistance in the investigation
                or prosecution of criminal offenses, or in proceedings related to the
                prosecution of criminal offenses, including proceedings regarding
                forfeiture, sentencing, and restitution.

18 U.S.C. § 3512(a)(1). This application to execute Turkey’s request has been duly authorized

by an appropriate official of the Department of Justice, through the Criminal Division, Office of

International Affairs,1 which has authorized execution of the request and has delegated the



1
  The Attorney General, through regulations and Department of Justice directives, has delegated to the
Office of International Affairs the authority to serve as the “Central Authority” under treaties and
executive agreements between the United States and other countries pertaining to mutual assistance in
criminal matters. See 28 C.F.R. §§ 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and
81C (2018).

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undersigned to file this application. The undersigned has reviewed the request and has

confirmed that it was submitted by authorities in Turkey in connection with a criminal

investigation and/or prosecution.

     4.        A court order under § 2703(d) “shall issue only if the governmental entity offers

specific and articulable facts showing that there are reasonable grounds to believe that . . . the

records or other information sought, are relevant and material to an ongoing criminal

investigation.” 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to

an ongoing criminal investigation.

                                         RELEVANT FACTS

     5.        Authorities in Turkey are investigating an unknown suspect(s) for a computer

intrusion offense, which occurred on or about March 5, 2019, in violation of the criminal law of

Turkey, specifically, Article 243 of the Turkish Criminal Code. A copy of the applicable law is

appended to this application. The United States, through the Office of International Affairs,

received a request from Turkey to provide the requested records to assist in the criminal

investigation and/or prosecution. Under the Treaty, the United States is obligated to render

assistance in response to the request.

     6.        According to authorities in Turkey, on or about March 5, 2019, at 8:00 a.m., a

business owner in Turkey (the “Victim”) had problems powering on his computer server to

access his business’s data files. The Victim called his computer technician to examine the

computer server, and when the technician opened the main server, he discovered that all the

Victim’s data and files had been encrypted and were inaccessible.



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     7.        Once the technician was able to turn on the server computer, he discovered that an

unknown person (the “Suspect”) had left a message on the computer. In this message, the

Suspect explained that all the Victim’s files and backup files had been encrypted, and that in

order to recover the decrypted files, the Victim must make a payment to the Suspect in bitcoin or

another cryptocurrency that was equivalent to USD 3,000.

     8.        The Suspect listed various types of cryptocurrency that would be acceptable

means of payment and instructed the Victim to contact the Suspect at the e-mail account

zamanakarsi07@gmail.com once the Victim was ready to transfer the currency. The Suspect

also explained that once the Victim made payment, the Suspect would explain the weaknesses of

the Victim’s computer system and explain how the Suspect hacked into it.

     9.        The Victim did not contact the Suspect and filed a complaint with the police

around 1:00 p.m. the same day.

    10.        Authorities in Turkey seek certain records associated with the e-mail account

zamanakarsi07@gmail.com, to help identify and locate the perpetrator(s) of this computer

intrusion offense.

    11.        PROVIDER services the e-mail account zamanakarsi07@gmail.com.

                                   REQUEST FOR ORDER

    12.        The facts set forth above show that there are reasonable grounds to believe that

the records and other information described in Part II of Attachment A are relevant and material

to an ongoing criminal investigation. Specifically, these items will help authorities in Turkey

identify and locate the individual(s) who are responsible for the criminal activity under

investigation, and to determine the nature and scope of that criminal activity. Accordingly, the




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United States requests that PROVIDER be directed to produce all items described in Part II of

Attachment A to the proposed Order within ten days of receipt of the Order.



                                                     Respectfully submitted,

                                                     VAUGHN A. ARY
                                                     DIRECTOR
                                                     OFFICE OF INTERNATIONAL AFFAIRS
                                                     OK Bar Number 12199




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                      Relevant Provision of the Turkish Criminal Code

Article 243

   (1) Any person who unlawfully accesses, partially or fully, a data processing system, or
       remains within such system, shall be subject to a penalty of imprisonment for a term of
       up to one year or a judicial fine.

                                              ***

   (3) Where any data within any such system is deleted or altered as a result of this act, then
       the penalty to be imposed shall be a term of imprisonment of six months to two years.




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